     Case 1:20-cr-00212-DAD-BAM Document 36 Filed 11/17/20 Page 1 of 1


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8                                   UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                 )      Case No: 1:20-cr-00212 DAD BAM
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    MIGUEL ANGEL SANCHEZ-MEZA,                )
                                                )
15                    Defendant.                )
                                                )
16
17           The defendant has attested to his financial inability to employ counsel and wishes the
18   Court to appoint counsel to represent him. Therefore, in the interests of justice and according to
19   Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court
20   ORDERS:
21           1.      Richard A. Beshwate, Jr. is APPOINTED to represent the above defendant in this
22   case effective nunc pro tunc to November 12, 2020. This appointment shall remain in effect until
23   further order of this court.
24
     IT IS SO ORDERED.
25
26       Dated:     November 16, 2020                          /s/ Jennifer L. Thurston
                                                       UNITED STATES MAGISTRATE JUDGE
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